Case: 5:05-cr-00131-JG Doc #: 493 Filed: 10/25/05 1 of 2. PageID #: 1527




IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




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 UNITED STATES OF AMERICA                                 : CASE NO. 1:05 CR 0131-35
                                                          :
                                             Plaintiff    :
                                                          :
                         -vs-                             : ORDER
                                                          :
                                                          :
 GEORGE LEBREUX                                           :
                                                          :
                                         Defendant        :
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UNITED STATES DISTRICT JUDGE LESLEY WELLS

        The Court has before it two motions brought, first, by defendant George Lebreux,

acting pro se (Docket No. 486), and then by his attorney, Michael Puterbaugh. (Docket

No. 488). First, in a letter to the Court on 12 October 2005, Mr. Lebreux sought to

terminate his retained counsel, Mr. Puterbaugh, and asked the Court to appoint new

counsel at public expense. On 18 October 2005, Mr. Puterbaugh placed before the

Court his motion to withdraw as Mr. Lebreux’s counsel, citing defendant’s pro se motion

as grounds for withdrawal. The government opposes neither motion.

        On 24 October 2005, the Court convened the government, represented by AUSA

Robert Bulford, along with Mr. Lebreux’s retained counsel, Mr. Puterbaugh, as well as

Mr. Lebreux, for a hearing on these matters. At the hearing, Mr. Lebreux completed

and submitted a financial affidavit attesting to his eligibility for a Court appointed
Case: 5:05-cr-00131-JG Doc #: 493 Filed: 10/25/05 2 of 2. PageID #: 1528




attorney. In addition, during his extended financial discussions with the Court , Mr.

Lebreux reiterated his inability to retain Mr. Puterbaugh.

       Upon review, the Court determines that Mr. Lebreux is financially eligible to

receive appointed counsel, pursuant to Fed. R. Civ. P. 44(a), and 18 U.S.C. § 3006A(a)

& (b). The Court releases Mr. Puterbaugh from further representation in this case and

appoints Jerome Emoff, 55 Public Square, Suite 1300, Cleveland, Ohio 44113, 216-

781-3434, as new counsel for the defendant in this matter. To facilitate that

representation, Mr. Puteraugh shall relinquish his file on the matter.



       IT IS SO ORDERED.


                                              /s/Lesley Wells
                                             UNITED STATES DISTRICT JUDGE


Dated: 25 October 2005
